     Case 2:08-cr-00085-LRS    ECF No. 284   filed 12/05/08    PageID.830 Page 1 of 1




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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                 )
 8                                              )    No. CR-08-085-LRS-1
                        Plaintiff,              )        CR-08-086-LRS
 9                                              )
      v.                                        )    ORDER DENYING MOTION TO SET
10                                              )    CONDITIONS OF RELEASE
      MICHEAL D. CHARLES,                       )
11                                              )
                        Defendant.              )
12                                              )

13         The court, having considered the file, the proffers of the

14   parties, including a DVD and testimony, and arguments, finds the

15   United States has met its burden by clear and convincing evidence of

16   establishing there is not a combination of conditions to reasonably

17   assure absence of risk to the community.                 The charges are serious,

18   and for his age of 23 years, Defendant has a significant criminal

19   history, including failures to comply.                     In addition, the DVD

20   reviewed during the hearing on December 4, 2008, showed alleged

21   assaultive behavior.

22         IT IS ORDERED the Defendant’s Motion to set conditions of

23   release (Ct. Rec. 272, No. CR-08-085-LRS-1; Ct Rec. 31, No. CR-08-

24   086-LRS) is DENIED.

25         DATED December 5, 2008.

26
27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
28

     ORDER DENYING MOTION TO SET CONDITIONS OF RELEASE - 1
